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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                     (Baltimore Division)

    In re
                                                             Case No. 25-10308 (DER)
    Diamond Comic Distributors, Inc., et al.,
                                                             Chapter 11
                                        1
                             Debtors.
                                                             (Joint Administration Requested)


              ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE

       The Court having considered the Motion for Admission Pro Hac Vice to admit Turner N.
Falk (“Pro Hac Counsel”) as attorney for Diamond Comic Distributors, Inc., and its affiliated
debtors and the certified statements in support thereof, and upon the recommendation of Jordan
D. Rosenfeld, it is, by the United States Bankruptcy Court for the District of Maryland,

       ORDERED, that the motion is granted pursuant to Local Bankruptcy Rule 9010−3(b) and
Local District Court Rule 101.1(b) and Pro Hac Counsel is admitted pro hac vice in this
bankruptcy case; and it is further

        ORDERED, that Pro Hac Counsel must register for a CM/ECF filing account on the
Court's website at https://www.mdb.uscourts.gov/for-attorneys/training-and-registration-for-
electronic-filing; and it is further

        ORDERED, that Pro Hac Counsel must use their own CM/ECF filing account to file a
notice of appearance in the case to begin receiving electronic notices.

                                                END OF ORDER

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      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.


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